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 Attorneys for Creditors James and Alice Belenis

                             UNITED STATES BANKRUPTCY COURT

                                        DISTRICT OF IDAHO


 In Re:
                                                     Case No. 19-00138-JMM
 GORDON JONES and VICKI L. JONES                     Chapter 7

                        Debtors.


          MOTION FOR RELIEF FROM THE AUTOMATIC STAY, 11 U.S.C. § 362

          Creditors James Belenis and Alice Belenis (collectively “Belenis”), by and through their

 undersigned counsel of record, file this Motion for Relief from the Automatic Stay, 11 U.S.C.

 § 362 (“Motion”), and further allege as follows:

                              I.       JURISDICTION AND VENUE

          This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

 Venue is proper in this Court pursuant to 28 U.S.C. § 1409(a). This is a “core proceeding”

 pursuant to 28 U.S.C. § 157(b).

                      II.     FACTUAL AND PROCEDURAL HISTORY

          1.     Gordon Jones and Vicki Jones (collectively the “Debtor”) filed a Chapter 11

 Petition (Dkt. 1) for bankruptcy on February 14, 2019 (the “Petition Date”).



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         2.     The Debtor’s Amended Chapter 11 Plan (Dkt. 161) was confirmed on October 7,

 2020 (Dkt. 173).

         3.     On February 9, 2022, Belenis filed a Notice of Default of Confirmed Plan (Dkt.

 188).

         4.     On March 16, 2022, Belenis filed a Notice of Debtor’s Failure to Cure Default of

 Confirmed Plan (Dkt. 190).

         5.     On April 15, 2022, the United States Trustee filed a Motion to Convert or Dismiss

 Case (Dkt. 193).

         6.     On May 9, 2022, the Court entered its Order converting the case to one under

 Chapter 7 of Title 11 (Dkt. 203).

         7.     Timothy Kurtz is the duly appointed Chapter 7 trustee.

         8.     Belenis is a secured creditor of Debtor with a perfected security interest in certain

 real property of the Debtor.

 A.      The Property

         9.     On or about January 13, 2010, Debtor executed a Deed of Trust Note in favor of

 James D. Belenis and Alice Y. Belenis, as Trustees for The Belenis Family Trust U/D/D

 March 30, 2006, in the original principal amount of $178,000.00 (as amended, converted,

 modified, supplemented, or replaced from time to time, the “First Note”). A true and correct

 copy of the First Note is attached hereto as Exhibit A and is incorporated herein by reference.

         10.    To secure the obligations of the First Note, on or about January 13, 2010, Debtor

 executed a Deed of Trust (“First Deed of Trust”) in favor of James D. Belenis and Alice Y.

 Belenis, as Trustees for The Belenis Family Trust U/D/D March 30, 2006, granting a lien in real

 property located in Ada County, Idaho described as the Northwest Quarter of the Northeast




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 Quarter of Section 35, Township 2 North, Range 3 East, Boise, Meridian, Ada County, Idaho

 (the “Property”). The First Deed of Trust was recorded in the records of Ada County, Idaho on

 January 14, 2010, as Instrument No. 110004016. A true and correct copy of the First Deed of

 Trust is attached hereto as Exhibit B and is incorporated herein by reference.

        11.     On or about January 26, 2010, Debtor executed a Deed of Trust Note in favor of

 PENSCO Trust Company Custodian FBO James Belenis IRA Account No. XXXX0919, in the

 original principal amount of $320,000.00 (as amended, converted, modified, supplemented, or

 replaced from time to time, the “Second Note”). A true and correct copy of the Second Note and

 all extensions thereto is attached hereto as Exhibit C and is incorporated herein by reference.

        12.     To secure the obligations of the Second Note, on or about January 26, 2010,

 Debtor executed a Deed of Trust (“Second Deed of Trust”) in favor of PENSCO Trust Company

 Custodian FBO James Belenis IRA Account No. XXXX0919, granting a lien in the Property.

 The Second Deed of Trust was recorded in the records of Ada County, Idaho on February 5,

 2010, as Instrument No. 110011217. A true and correct copy of the Second Deed of Trust is

 attached hereto as Exhibit D and is incorporated herein by reference.

        13.     The First Note and the Second Note are hereinafter collectively referenced as the

 “Notes.”

        14.     On or about February 4, 2010, Debtor and Belenis executed a Subordination

 Agreement (the “Subordination Agreement”) subordinating the lien under the First Deed of Trust

 to the lien under the Second Deed of Trust. The Subordination Agreement was recorded in the

 records of Ada County, Idaho on February 5, 2010, as Instrument No. 110011218. A true and

 correct copy of the Subordination Agreement is attached hereto as Exhibit E and is incorporated

 herein by reference.




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        15.     On May 24, 2022, Pacific Premier Trust, a Division of Pacific Premier Bank,

 executed a Limited Power of Attorney (“Limited Power of Attorney”) transferring its interests in

 the Second Note and Second Deed of Trust to James D. Belenis. A true and correct copy of the

 Limited Power of Attorney is attached hereto as Exhibit F and is incorporated herein by

 reference.

 B.     Indebtedness

        16.     Debtor is indebted to Belenis under the First Note in the amount of $441,120 as of

 May 14, 2022, consisting of $178,000 in principal and $263,120 in interest. Interest, costs, and

 attorneys’ fees continue to accrue.

        17.     Debtor is indebted to Belenis under the Second Note in the amount of $789,600 as

 of April 30, 2022, consisting of $320,000 in principal and $469,000 in interest. Interest, costs,

 and attorneys’ fees continue to accrue.

        18.     The amounts owed under the Second Note and the First Note are hereinafter

 collectively referenced as the “Indebtedness.”

        19.     Belenis seeks stay relief from the automatic stay with respect to the Property.

                                       III.     ARGUMENT

        20.     Belenis alleges that the value of the Property is less than the Indebtedness due.

 This allegation is based upon the Broker Price Opinion dated March 31, 2022 and valuing the

 Property at $282,000 to $319,600. A true and correct copy of the Broker’s Price Opinion is

 attached hereto as Exhibit G and is incorporated herein by reference.

        21.     Belenis is entitled to relief from the automatic stay of 11 U.S.C. § 362, for cause,

 because Debtor lacks equity in the Property.




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                                      IV.    CONCLUSION

                WHEREFORE, Belenis prays for relief as follows:

        1.      For an order of this Court granting Belenis relief from the automatic stay of

 11 U.S.C. § 362, so as to allow Belenis to exercise its rights against the Property available under

 state and/or bankruptcy law, including taking possession of and selling the Property and to apply

 the proceeds of the sale to the remaining Indebtedness owed Belenis by Debtor under the Notes.

        2.      For waiver of the 14-day waiting period set forth in Bankruptcy Rule 4001(a)(3).

        3.      For such other and further relief as the Court deems just and equitable.

              NOTICE REQUIRED BY LOCAL BANKRUPTCY RULE 4001.2

        Notice is hereby given, pursuant to Local Bankruptcy Rule 4001.2, that any party in

 interest opposing the motion must file and serve an objection thereto not later than seventeen

 (17) days after the date of service of the motion. The objection shall specifically identify those

 matters contained in the motion that are at issue and any other basis for opposition to the motion.

 The objection shall also contain the notice of hearing required by subsection (e)(1) and the proof

 of service required by subsection (h). Absent the filing of a timely objection, movant may

 submit a proposed order, and the Court may grant the relief sought without a hearing. The

 objection shall also contain the notice of hearing required by subsection (e)(1) of Local

 Bankruptcy Rule 4001.2 and the proof of service required by subsection (h) of Local Bankruptcy

 Rule 4001.2. If an objection to this motion is filed, the objection shall be served upon the

 undersigned attorney for the movant and upon all parties receiving service of this motion.

        Any party opposing this motion shall contact the Court’s calendar clerk to schedule a

 preliminary hearing. The objection to a motion shall include the notice of such hearing. Upon




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 Court approval, movant may schedule a hearing for cause shown in the motion or other

 submissions.

        Notice is hereby further given, pursuant to Local Bankruptcy Rule 4001.2, that 11 U.S.C.

 § 362(e) reads as follows:

                (1)     Thirty days after a request under subsection (d) of this
                section for relief from the stay of any act against property of the
                estate under subsection (a) of this section, such stay is terminated
                with respect to the party in interest making such request, unless the
                court, after notice and a hearing, orders such stay continued in
                effect pending the conclusion of, or as a result of, a final hearing
                and determination under subsection (d) of this section. A hearing
                under this subsection may be a preliminary hearing, or may be
                consolidated with the final hearing under subsection (d) of this
                section. The court shall order such stay continued in effect
                pending the conclusion of the final hearing under subsection (d) of
                this section if there is a reasonable likelihood that the party
                opposing relief from such stay will prevail at the conclusion of
                such final hearing. If the hearing under this subsection is a
                preliminary hearing, then such final hearing shall be concluded not
                later than thirty days after the conclusion of such preliminary
                hearing, unless the 30-day period is extended with the consent of
                the parties in interest or for a specific time which the court finds is
                required by compelling circumstances.

                (2)    Notwithstanding paragraph (1), in a case under chapter 7,
                11, or 13 in which the debtor is an individual, the stay under
                subsection (a) shall terminate on the date that is 60 days after a
                request is made by a party in interest under subsection (d), unless –

                       (A)    a final decision is rendered by the court during the
                       60-day period beginning on the date of the request; or

                       (B)     such 60-day period is extended –

                               (i)     by agreement of all parties in interest; or

                               (ii)   by the court for such specific period of time
                               as the court finds is required for good cause, as
                               described in findings made by the court.




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      DATED this 31st day of May, 2022.

                                              GIVENS PURSLEY LLP



                                              By /s/ Amber N. Dina
                                                Amber N. Dina – Of the Firm
                                                Attorneys for James Belenis and Curtis Chong




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                              CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on the 31st day of May, 2022, I filed the foregoing
 MOTION FOR RELIEF FROM THE AUTOMATIC STAY, 11 U.S.C. § 362 electronically
 through the CM/ECF system, which caused the following parties or counsel to be served by
 electronic means, as more fully reflected on the Notice of Electronic Filing:

 Brett R. Cahoon                                U.S. Trustee
 ustp.region18.bs.ecf@usdoj.gov                 ustp.region18.bs.ecf@usdoj.gov

 Jesse A.P. Baker                               Lesley D. Bohleber
 ecfidb@aldridgepite.com                        lbohleber@bskd.com
 JPB@ecf.courtdrive.com                         psutton@bskd.com
                                                vbraxton@bskd.com
                                                mbeck@bskd.com

 Matthew T. Christensen                         William M. Humphries
 mtc@johnsonmaylaw.com                          bill.humphries@usdoj.gov
 mtcecf@gmail.com                               jessica.black@usdoj.gov
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 mla@johnsonmaylaw.com
 acs@johnsonmaylaw.com
 ecf@johnsonmaylaw.com
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 lbush@perkinscoie.com                          ustp.region18.bs.ecf@usdoj.gov

 Derrick J. O’Neill                             Jon M. Steele
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 mmills@idalaw.com                              TWiggs@runftsteele.com

 Laura E. Burri                                 Timothy R. Kurtz
 lburri@morrowfischer.com                       trk@kurtztrustee.com
                                                meg@kurtztrustee.com
                                                jmh@kurtztrustee.com
                                                admin@kurtztrustee.com
                                                ID20@ecfcbis.com




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            AND, I FURTHER CERTIFY that on such date I served the foregoing MOTION
 FOR RELIEF FROM THE AUTOMATIC STAY, 11 U.S.C. § 362 on the following
 non-CM/ECF Registered Participants in the manner indicated:

 All creditors on the attached creditor mailing   (X) U.S. Mail, Postage Prepaid
 matrix.                                          ( ) Hand Delivered
                                                  ( ) Overnight Mail
                                                  ( ) Facsimile

 Gordon Jones                                     (X) U.S. Mail, Postage Prepaid
 Vicki L. Jones                                   ( ) Hand Delivered
 8840 W. River Beach Lane                         ( ) Overnight Mail
 Garden City, ID 83714                            ( ) Facsimile

 Michael Ballantyne                               (X) U.S. Mail, Postage Prepaid
 Thornton Oliver Keller                           ( ) Hand Delivered
 250 S. Fifth Street, 2nd Floor                   ( ) Overnight Mail
 Boise, ID 83702                                  ( ) Facsimile

 Morris Grigg                                     (X) U.S. Mail, Postage Prepaid
 Grigg, Bratton and Brash P.C.                    ( ) Hand Delivered
 4487 N Dresden Place, Ste. 101                   ( ) Overnight Mail
 Boise, ID 83714                                  ( ) Facsimile

 Idaho State Tax Commission                       (X) U.S. Mail, Postage Prepaid
 P.O. Box 36                                      ( ) Hand Delivered
 Boise, ID 83722-0410                             ( ) Overnight Mail
                                                  ( ) Facsimile

 Richard L. Zamzow                                (X) U.S. Mail, Postage Prepaid
 11555 Thomas Dr.                                 ( ) Hand Delivered
 Boise, ID 83709                                  ( ) Overnight Mail
                                                  ( ) Facsimile


                                                    /s/ Amber N. Dina
                                                  Amber N. Dina




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                                                                                   Exhibit C


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